
ATTORNEY DISCIPLINARY PROCEEDINGS
PER CURIAM.
The Office of Disciplinary Counsel (“ODC”) commenced an investigation into allegations that respondent failed to promptly remit funds to a third party and failed to properly supervise a non-lawyer assistant. Prior to the filing of formal charges, respondent and the ODC submitted a joint petition for consent discipline. Having reviewed the petition,
IT IS ORDERED that the Petition for Consent Discipline be accepted and that Henry B. King, Jr., Louisiana Bar Roll number 8426, be publicly reprimanded.
IT IS FURTHER ORDERED that all costs and expenses in the- matter are assessed against respondent in accordance with Supreme Court Rule XIX, § 10.1, with legal interest to . commence thirty days from the date of finality of. this court’s judgment until paid.
TRAYLOR, J., would reject the petition.
